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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

BERNADETTE TAYLOR LOCKETT                                       :        CIVIL ACTION NO.
                                                                :        3:20-cv-191 (JAM)
                  Plaintiff,                                    :
                                                                :
         v.                                                     :
                                                                :
TARGET CORPORATION                                              :
                                                                :
                  Defendant.                                    :        December 23, 2021

                    DEFENDANT’S MOTION
                    DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
                                       FOR SUMMARY JUDGMENT

         Pursuant to Rule 56 of the Federal and Local Rules of Civil Procedure, Defendant Target

Corporation ("Defendant"
Corporation (“Defendant” or
                         or "Target"),
                            “Target”), hereby
                                       hereby moves
                                              moves for
                                                    for summary
                                                        summary judgment in its favor with

respect to all claims and allegations raised in Plaintiff Bernadette Taylor Lockett's (“Plaintiff”)
                                                                            Lockett’s ("Plaintiff')

Amended Complaint, filed on April 13, 2020. [Dkt. No. 20]. For the reasons more fully

discussed in the accompanying memorandum of law, Target makes this motion on the ground

that there are no genuine issues as to any material facts, and Defendant is entitled to judgment as

a matter of law.

                                   in Plaintiff's
         The only remaining claims in Plaintiff’s Amended
                                                  Amended complaint
                                                          complaint are:
                                                                    are: race-based
                                                                         race-based hostile work

environment in violation of Title VII and 42 U.S.C. § 1981(Count One); retaliation in violation

of Title VII and 42 U.S.C. § 1981 (Count Three); constructive discharge in violation of Title VII

                                                                       Five).1 As set forth in
(Count Four); and race-discrimination in violation of Title VII (Count Five).1

detail in the Memorandum of Law and Local Rule 56(a)1 statement filed contemporaneously

herewith, Target is entitled to summary judgment on all remaining counts.




   Plaintiff’s claims
11 Plaintiff's claims of
                      of disparate
                         disparate impact,
                                   impact, negligent supervision, gender discrimination, and claims under 42 U.S.C. §
                                           negligent supervision,
1985 & 1986 were dismissed on July 24, 2020. See Dkt. No. 31.

                                                          1
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       WHEREFORE, for the reasons set forth in Target’s
       WHEREFORE,                              Target's Memorandum in Support of this

Motion and exhibits attached thereto, Target respectfully requests that the Court grant its Motion

for Summary Judgment and any further relief that the Court deems just and proper.

                                             DEFENDANT,
                                             TARGET CORPORATION

                                             /s/ John G. Stretton
                                             Is/
                                             John G. Stretton (CT19902)
                                             Nicole S. Mule
                                                        Mulé (CT30624)
                                             OGLETREE, DEAKINS, NASH, SMOAK
                                                  & STEWART, P.C.
                                             281 Tresser Blvd., Suite 602
                                             Stamford, CT 06901
                                             Telephone: 203-969-3102
                                             Facsimile: 203-969-3150
                                             john.stretton@ogletree.com
                                             Nicole.mule@ogletree.com




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed
electronically through
electronically through the
                       the Court's
                           Court’s Electronic Filing System
                                   Electronic Filing        (“ECF”) and
                                                     System ("ECF") and email notification was
                                                                        email notification was
sent to
sent to all
        all parties.
            parties. Parties
                     Parties unable
                             unable to
                                    to receive
                                       receive notifications
                                               notifications through
                                                             through the
                                                                     the Court's
                                                                         Court’s ECF system were
                                                                                 ECF system were
                                         23rd day of December, 2021.
sent copies by regular U.S. mail on this 23th


                                                   /s/ Nicole S. Mule
                                                   /s/           Mulé
                                                   Nicole S. Mule
                                                              Mulé



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